                       UNITED STATES DISTRICT COURT
                                     for the
                            Southern District of Texas
                                Houston Division


                                       )       Case No. _________________
                                       )
DIONNE A. MONTAGUE                     )
     Plaintiff                         )       Jury Trial:   [X] Yes [ ] No
                                       )
     -v-                               )
                                       )
LOUIS DEJOY, POSTMASTER                )
GENERAL, UNITED STATES POSTAL          )
SERVICE (SOUTHERN AREA)                )
     Defendant                         )

             COMPLAINT FOR EMPLOYMENT DISCRIMINATION

I.   The Parties to This Complaint

     A.    The Plaintiff

           Name                        Dionne A. Montague
           Street Address              7710 Oak Moss Drive
           City and County             Spring, Harris County
           State and Zip Code          Texas 77379
           Telephone Number            (804) 512-7303
           Email Address               dionnemontague@yahoo.com

     B.    The Defendant

           Name                        Louis DeJoy, Postmaster General
                                       United States Postal Service
           Street Address              475 L’Enfant Plaza, S.W.
           City and County             Washington, District of Columbia
           State and Zip Code          Washington, DC 20260
           Telephone Number
           Email Address

     C.    Place of Employment

           The address at which I was employed by the defendant is

           Name                        Headquarter Employee reporting to



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                                             Southern Area Office – domiciled at
                                             Klein Station
               Street Address                7717 Louetta Road
               City and County               Spring, Harris County
               State and Zip                 Texas 77379
               Telephone Number              (281) 257-3806

II.    Basis for Jurisdiction

       This action is brought for discrimination in employment pursuant to

       [X]     Americans with Disabilities Act of 1990, as codified, 42 U.S.C. §§ 621 to 634.

III.   Statement of Claim

       Plaintiff Dionne Montague was employed by the U.S. Postal Service Headquarters

Division; however, reported to the Southern Area as a Communications Programs Specialist,

EAS 23 level, and was domiciled in Spring, Texas at the Klein Station Office. Montague

handled Public Affairs and Employee communication for the Houston and Gulf Atlantic Districts

of the U.S. Postal Service. Montague was diagnosed with Juvenile Diabetes Mellitus in 1976

and after a number of years was subsequently diagnosed with the complication of Diabetic

Neuropathy which adversely affected her ability to walk and stand for extended periods of time.

Montague was prescribed medication to manage the Diabetic Neuropathy during flare-ups and

cannot safely drive an automobile for several hours after taking the medication. Montague

notified the U.S. Postal Service of her condition and asked for the accommodation to tele-

commute from her home during the few hours per day when the side-affects of her medication

prevented her from operating a motor vehicle safely. Once the medication side-affects subsided

each day, Montague proposed to drive herself to Klein Station, her assigned domiciled office,

where she served in her position as the Communications Programs Specialist for the Houston and

Gulf Atlantic Districts. The Postal Service denied to accommodate Montague and did not seek

to find alternate employment for Montague at the U.S. Postal Service. Montague’s employment



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was constructively terminate after the Postal Service refused to accommodate Montague’s

disability.

        A.    The discriminatory conduct of which Plaintiff complains in this action includes:

              [X]    Failure to provide reasonable accommodations for Montague’s disability.

        B.    In Plaintiff’s best recollection the alleged discriminatory acts occurred on dates

              July 13, 2015 through July 14, 2017 with her constructive termination and

              subsequent forced disability retirement.

        C.    Defendant’s discriminated against plaintiff are based on plaintiff’s:

              [X]    disabilities - Diabetes Mellitus, Diabetic Neuropathy

        D.    The facts of plaintiff’s case are as follows:

              1.     Dionne A. Montague, plaintiff, has the disability of Diabetes Mellitus,

                     Diabetic Neuropathy.

              2.     Montague demonstrated that she was able to perform the essential

                     functions of her position as Communications Programs Specialist with or

                     without accommodations as she successfully performed those functions

                     from 2008 to 2015 during which she received high performance ratings

                     and received awards for outstanding service until the Postal Service

                     refused to continue accommodating Montague’s disability.

              3.     Montague’s manager informally accommodated Montague’s disability

                     from June 2014 to November 2014 allowing Montague to tele-commute as

                     needed for work. The Postal Service sustained a cyber attack and

                     temporarily suspended all tele-commuting. After, the Postal Service

                     recovered from the cyber attack, Montague formally requested tele-




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                    commuting accommodations. After two rounds and 12 months of going

                    through the formal accommodation review process, the U.S. Postal

                    Service denied accommodation to Montague, stating the accommodation

                    of tele-commute would cause an undue hardship on the Postal Service and

                    Montague’s inability to temporarily drive prohibited her from being able

                    to perform the essential functions of her position. Further, the Postal

                    Service failed to seek alternative employment within the Postal Service.

             4.     Once Montague exhausted her sick leave, Montague was forced to file for

                    disability retirement from Postal Service employment, after more than 30

                    years of service, which was a constructive termination.

             5.     The U.S. Postal Service bears liability for the failure to accommodate

                    Montague’s disability in that Postal Service management was involved in

                    a protracted review of Montague’s disability condition and her request for

                    accommodation before summarily denying Montague accommodation.

IV.   Exhaustion of Federal Administrative Remedies

             A.     To plaintiff’s best recollection, she filed a charge with the Equal

                    Employment Opportunity Commission regarding the defendant’s alleged

                    discriminatory conduct on _June 22, 2016_.

             B.     The Equal Employment Opportunity Commission issued a decision

      against Montague without holding an evidentiary hearing. Montague appealed the EEOC

      Administrative Law Judge decision to the EEOC Office of Federal Operations (“OFO”).

      On appeal, the OFO sustained the ALJ’s decision against Montague on September 30,

      2020. The OFO September 30, 2020 decision gives Montague the right to file a civil




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       action in the United States District Court on or before December 30, 2020 (i.e. 90 days

       from plaintiff’s receipt of the OFO decision).

V.     Relief

       Montague seeks the remedies of accommodation, reinstatement to employment with the

Postal Service Southern Area to be domiciled in the Houston District in the position of

Communications Programs Specialist, EAS 23, back pay to the date of plaintiff’s last day in a

pay status of her employment with the U.S. Postal Service, made whole of all lost benefits during

this period, non-pecuniary damages to be determined, costs and attorney’s fees from the filing of

the EEOC complaint, through the OFO appeal and through the prosecution of this petition

through this Court and the appeal of this Court’s decision if necessary.

VI.    Certification and Closing

                I certify to the best of my knowledge, information and belief that this complaint:

(1) is not being presented for an improper purpose, such as to harass, cause unnecessary delay, or

needlessly increase the cost of litigation; (2) is supported by existing law or by non-frivolous

argument extending, modifying, or reversing existing law; (3) the factual contentions have

evidentiary support or, if specifically so identified, will likely have evidentiary support after a

reasonable opportunity for further investigation or discovery; and (4) the complaint otherwise

complies with the requirements of Rule 11.

Date of signing: _12/22/2020__

                                       __/S/ McKen V. Carrington ____
                                       McKen V. Carrington
                                       SBN: 24034797
                                       8803 Lady Laura Lane
                                       Richmond, Texas 77469
                                       mcarrington002@comcast.net
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                                       ATTORNEY FOR COMPLAINANT


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DIONNE A. MONTAGUE




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